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                                                                         Page 1

1       UNITED STATES DISTRICT COURT
2       NORTHERN DISTRICT OF CALIFORNIA
3       SAN JOSE DIVISION
4       ------------------------------------------- x
5       IN RE GOOGLE RTB CONSUMER PRIVACY LITIGATION.
6       No. 4:21-CV-02155-YGR-VKD
7       ------------------------------------------ x
8
9                             Park Ridge Marriott
                              300 Brae Boulevard
10                            Park Ridge, New Jersey
11                            March 30, 2023
                              10:07 a.m.
12
13      **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**
14
15                  VIDEOTAPED DEPOSITION OF SALVATORE
16      TORONTO, taken pursuant to Notice, held at the
17      above time and place, before Fran Insley, a
18      Notary Public of the States of New York and New
19      Jersey.
20
21
22
23         Job No. CS5823122
24
25

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1       A P P E A R A N C E S:
2               DICELLO LEVITT LLP
3                     Attorneys for Plaintiffs and
                      Proposed Class
4
                              485 Lexington Avenue, 10th floor
5                             New York, New York  10165
6                    BY:      DAVID A. STRAITE, ESQ.
                              DStraite@dicellolevitt.com
7
8                    BOTTINI & BOTTINI
9                          Attorneys for Plaintiff,
                           ALBERT Y. CHANG
10
                              7817 Ivanhoe Avenue, Suite 102
11                            LaJolla, California 92037
12                    BY:     YURY A. KOLESNIKOV, ESQ.
                              Phone: (858)914-2001
13                            ykolesnikov@bottinilaw.com
14
15                  COOLEY LLP
16                         Attorneys for Defendant
17                         Three Embarcadero Center
                           22nd floor
18                         San Francisco, California 94111
19                   BY:   KHARY ANDERSON, ESQ.
                           kanderson@cooley.com
20
21      ALSO PRESENT:
22              HOWARD BRODSKY, Videographer
23
24                             xxxxx
25

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1                       THE VIDEOGRAPHER:              Good morning.
2               Here begins the video recorded virtual
3               remote deposition of Salvatore Toronto
4               appearing from this location at Marriott
5               Park Ridge, 300 Brae Boulevard, Park
6               Ridge, New Jersey 07656.
7                       This deposition is taken by the
8               defendant In Re Google RTB Consumer
9               Privacy Litigation, case number
10              21-CV-02155-YGR in the United States
11              District Court, Northern District of
12              California.
13                      Today is Thursday, March 30, 2023.
14              The time is approximately 10:07 a.m.
15              eastern daylight time.
16                      My name is Howard Brodsky and I am
17              the legal video specialist in association
18              with Veritext Legal Solutions with offices
19              located in San Francisco, California.
20                      The court reporter is Fran Insley in
21              association with Veritext.
22                      Will counsel please state their
23              appearances for the record.
24                      MR. KOLESNIKOV:            Good morning.            Yury
25              Kolesnikov from Bottini & Bottini on

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1       We had nonlegal conversations, not many,
2       because we are both very busy parents.
3               Q.       Were any of those nonlegal
4       conversations with Mr. Bottini concerning any
5       of the facts alleged in the case in the Google
6       RTB case?
7                        MR. KOLESNIKOV:             Again, same
8               objection.
9               A.       No.    This is very -- you are asking
10      a question and my response is or my reaction to
11      it is I'm going to be having to get into
12      privileged -- confidential information.
13                       MR. KOLESNIKOV:             I will instruct you
14              not to answer the question.
15              Q.       Prior to filing the -- strike that.
16                       Do you understand that you are a
17      named plaintiff in the Google RTB case?
18              A.       Yes, yes.
19              Q.       And prior to filing your lawsuit,
20      did you review any of the filings, such as the
21      Complaint?
22              A.       Yes.
23              Q.       Did you review -- without divulging
24      attorney/client communications, did you review
25      those with Mr. Frank Bottini?

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1               A.       Yes.
2               Q.       Did you review those with other
3       attorneys at his firm?
4               A.       Maybe.
5               Q.       Did you review those filings with
6       any other attorneys at any other firm?
7                        MR. KOLESNIKOV:             Objection.          Vague.
8               A.       I don't recall so.
9               Q.       For your work as a named plaintiff
10      in the Google RTB case, do you have any
11      agreement whether you will be compensated?
12                       MR. KOLESNIKOV:             Objection.
13              Q.       For your work as a named plaintiff
14      in the Google RTB case?
15              A.       No, no agreement.
16              Q.       Do you have any expectation to be
17      compensated in the Google RTB case?
18                       MR. KOLESNIKOV:             Same objection.
19              A.       No.
20              Q.       Do you have any expectation for your
21      attorneys in the Google RTB case to be
22      compensated?
23                       MR. KOLESNIKOV:             Same objection.
24              A.       I never thought about it.
25              Q.       Do you have a formal agreement with

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1       lawsuit in the Google case in 2021?
2                        MR. KOLESNIKOV:             Objection.          Assumes
3               facts not in evidence.
4               A.       Yes, I have recall on that.
5               Q.       Do you recall that you were -- you
6       are a named plaintiff in the Google case?
7               A.       Yes.
8               Q.       Do you recall that your Google case
9       was consolidated with other Google cases?
10              A.       Yes.
11              Q.       Do you recall that those other
12      Google cases were consolidated in around the
13      summer of 2021?
14              A.       I recall that they were
15      consolidated, but I didn't know the exact year.
16              Q.       Do you recall that in your Complaint
17      you make allegations about RTB?
18              A.       Yes.
19              Q.       Do you recall that in your Complaint
20      you make allegations about Google's RTB?
21              A.       Yes.
22              Q.       Is it your testimony that you had
23      never -- strike that.
24                       Is it your testimony that you were
25      not aware of Google RTB prior to the filing of

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1               A.       Well, I listened to the radio news
2       and I occasionally will see TV television news.
3       So those are possibilities that I may have seen
4       or heard a news story.
5               Q.       What information related to this
6       case do you think you may have seen on radio --
7       you may have heard on radio news?
8               A.       I don't recall any specifics.
9               Q.       What about generally?
10              A.       Well, I hear the news, the daily
11      news, and then I forget a few days later.                           So I
12      don't know, but that's how it is for me.
13      That's how I know what is going on, process it
14      and then move on.
15              Q.       Is any of this information that you
16      were processing related to the allegations in
17      your Complaint?
18              A.       Way back a few years ago when I was
19      in contact, initial contact regarding Google
20      with my attorneys probably.
21              Q.       To be clear, when you say your
22      attorneys, are you referencing Mr. Frank
23      Bottini?
24              A.       Frank and his staff.
25              Q.       And I believe you said that you

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1       approached Frank about this case; is that
2       correct?
3               A.       I seem to recall that I was really
4       bothered by my privacy being compromised and my
5       personal information being sold on the web
6       throughout the world.
7               Q.       Without disclosing attorney/client
8       communications, when you approached Mr. Bottini
9       did you have any concerns related to RTB?
10                       MR. KOLESNIKOV:            Objection.         Asked
11              and answered.
12              A.       Well, I had concerns, but I didn't
13      use the term RTB.           You are using that right now
14      shorthand to describe a long group of words,
15      descriptive words, but that was the crux or a
16      good description for a good part of the
17      conversations I had with my attorneys, Frank
18      and his staff.         My attorneys/Frank and his
19      staff.
20              Q.       If we say -- if I use the term
21      Bottini firm, would you understand I'm speaking
22      about Frank and his staff?
23              A.       That's what I understand.                  That's
24      whenever I use the word attorneys, it's Frank
25      and his staff.

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1               Q.       Do you recognize that document?
2               A.       I recognize Exhibit A and I guess
3       it's what I had before me previously.
4               Q.       For the record, Exhibit A is a
5       public version of a redacted copy of the
6       Complaint.
7                        MR. KOLESNIKOV:              You might want to
8               turn to the next page.                  Is Exhibit A part
9               of the document?
10                       MR. ANDERSON:            It's from a motion to
11              sue.
12                       MR. KOLESNIKOV:              I think that's the
13              first page you are referring to.
14                       MR. ANDERSON:            It should be ECF
15              number.
16                       MR. KOLESNIKOV:              This is the first
17              page he was referring to.
18              Q.       For your reference, Mr. Toronto, it
19      would be page 2 of 140.                  That's what I meant
20      when I said first page in the top right.
21              A.       Okay, I got that.
22              Q.       Have you seen this document before
23      or a version of this document before?
24              A.       Yes.
25              Q.       Do you see -- do you recall that

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1       this case was brought as a class action?
2               A.       Yes.
3               Q.       When I say class action, do you
4       understand that I mean a class action lawsuit?
5               A.       Yes.
6               Q.       What is your understanding of a
7       class action?
8               A.       I'm a member of a group of similarly
9       situated plaintiffs.
10                       MR. KOLESNIKOV:              Mr. Toronto, do you
11              need a second to fix your glasses?
12              A.       I have a spot that is clouding my
13      vision.
14                       MR. ANDERSON:            We can go off the
15              record.
16                       THE VIDEOGRAPHER:                The time is
17              11:40.     We are off the record.
18                       (Brief recess taken.)
19                       THE VIDEOGRAPHER:                The time is
20              11:41.     We are on the record.
21      BY MR. ANDERSON:
22              Q.       What is your basis of understanding
23      what a class action is?
24              A.       I understand it as a group of people
25      similarly situated filing a lawsuit together.

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1               Q.       How did you get that understanding?
2               A.       Well, just over the years being
3       involved with the law and listening and
4       watching the news.
5               Q.       What does similarly situated mean to
6       you?
7               A.       A group of people with the same
8       legal interests and taking the same legal
9       action, using the same attorney, law firm.
10              Q.       What does it mean to be a plaintiff
11      in a class action lawsuit to you?
12              A.       To me I'm -- the plaintiff is the
13      lead person bringing the lawsuit against the
14      defendant.
15              Q.       Does the plaintiff -- strike that.
16                       Is it your opinion that the
17      plaintiff is similarly situated to the other
18      members in the class action, the other
19      plaintiffs in the class action?
20                       MR. KOLESNIKOV:            Objection.         Vague.
21              Calls for legal conclusion.
22              A.       The plaintiff he has to act for the
23      other people besides himself.                       He's got those
24      responsibilities, plaintiff responsibilities.
25              Q.       What is your understanding of the

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1       other plaintiffs' responsibilities?
2               A.       We have to equally represent the
3       other members with you and you have to do
4       whatever is necessary to help the judge and
5       help the other people involved in the case help
6       the case progress, provide information,
7       evidence, et cetera.
8               Q.       What do you mean by equally
9       represent?
10              A.       Well, I just can't act for my own
11      interests.        I have to do whatever I can for the
12      interests of the other plaintiffs.
13              Q.       Do those interests have to be equal?
14                       MR. KOLESNIKOV:            Objection.         Vague.
15              A.       I have to give the best information
16      I can for everybody and not favor anybody, any
17      other one plaintiff or more plaintiffs over
18      against others.         They all have to get my equal
19      efforts.
20              Q.       Does a named plaintiff represent
21      other plaintiffs who don't have the same equal
22      interest?
23              A.       Well --
24                       MR. KOLESNIKOV:            Objection.         Calls
25              for legal conclusion.

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1               A.       I'm not -- I don't think I'm
2       qualified to go real deep into the obligations
3       and responsibilities, theoretical and otherwise
4       of plaintiffs.         We are getting a little deep,
5       at least -- and I'm just wondering if I should
6       be answering the question.
7               Q.       But do you understand that as a
8       named plaintiff you have to abide by those
9       obligations and responsibilities?
10                       MR. KOLESNIKOV:            Objection.         Asked
11              and answered.
12              A.       I know I have obligations and number
13      one is the truth, tell the truth and then, you
14      know, help the court as much as possible and
15      make sure that I don't request or act in a way
16      that -- where I'm favoring myself as opposed to
17      plaintiff, fellow plaintiffs, yeah.
18              Q.       In what way would you -- strike
19      that.
20                       How would you favor yourself as
21      opposed to fellow plaintiffs?
22                       MR. KOLESNIKOV:            Objection.         Vague.
23              Misstates testimony.
24              A.       I'm sorry, but I wouldn't know how.
25      I mean I just normally think of responding to a

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1       question and telling the truth and making sure
2       that I am not leaving anybody out, making sure
3       that I'm not favoring myself, forgetting about
4       other people and responsibilities to other
5       people.
6               Q.       And returning to the case caption,
7       which I believe is on page 2 of 140 of the
8       document in front of you?
9               A.       Okay, I'm on that page.
10              Q.       And it says, "Mr. Howett on behalf
11      of themselves and others similarly situated."
12      What is your understanding of quote, unquote,
13      "on behalf of?"
14                       MR. KOLESNIKOV:              Objection.         Vague.
15              Calls for a legal conclusion.
16              A.       My understanding is that he's like
17      the lead plaintiff and he's acting for us and
18      with us.
19              Q.       Do you understand that you are also
20      a lead plaintiff?
21              A.       Yes.
22              Q.       Is it your testimony that as lead
23      plaintiff you are also acting for the class --
24      excuse me -- strike that.
25                       Is it your testimony that as a lead

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1       plaintiff you are also acting for fellow
2       plaintiffs?
3                        MR. KOLESNIKOV:             Objection.         Asked
4               and answered.
5               A.       I think yes applies.
6               Q.       What do you mean by acting for
7       fellow plaintiffs?
8                        MR. KOLESNIKOV:             Objection.         Asked
9               and answered five times now.                    You can
10              answer.
11              Q.       Actually, I'll rephrase.                    Other than
12      abiding by your responsibilities and telling
13      the truth and other things you mentioned, is
14      there anything else you mean by acting for
15      fellow plaintiffs?
16              A.       No.
17              Q.       What are you trying to achieve for
18      your fellow plaintiffs in this lawsuit?
19                       MR. KOLESNIKOV:             Objection.         Vague.
20              A.       Technically the Complaint states it
21      and my attorneys set that out when I was
22      seeking.       Did I answer your question?
23              Q.       I think so.          It also says the
24      caption -- in the case caption right there at
25      the bottom of the page, also says "All others

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1       similarly situated."             What makes someone,
2       quote/unquote, in your opinion what makes
3       someone similarly situated to you?
4                        MR. KOLESNIKOV:            Objection.         Asked
5               and answered.
6               A.       If they have the same -- if they
7       have the same -- I feel I was injured and my
8       privacy has been violated, my rights.                         They are
9       called privacy rights, et cetera, related
10      rights were violated.
11                       My information was disseminated
12      internationally and sold by Google and there
13      were other people that had the same situation
14      and so I'm acting to protect, bring the court
15      in to protect and correct the situation that
16      I'm in and all those people that are in the
17      same situation as me.
18              Q.       Do you believe that you represent
19      anyone whose privacy has not been violated?
20                       MR. KOLESNIKOV:            Objection.         Vague.
21              Calls for a legal conclusion.
22              A.       I don't know.
23              Q.       Do you believe you represent anyone
24      whose -- any plaintiffs whose personal
25      information was not sold?

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1               Q.       So in paragraph 30 you say that you
2       bring this class action on behalf of people
3       whose information was sold by Google without
4       their authorization, is that -- did I sum that
5       up correctly?
6               A.       Yes.
7               Q.       You say authorization is clear and
8       it means what it says; is that correct?                            Is
9       that your testimony?
10              A.       Yep.
11              Q.       So would you agree that if
12      someone -- actually, if Google -- excuse me --
13      strike that.
14                       Would you agree that if an
15      individual did authorize their sale or
16      disclosure of information, then they would not
17      be part of this class action?
18                       MR. KOLESNIKOV:              Objection.
19              Improper hypothetical.                  Calls for legal
20              conclusion.         Calls for expert testimony.
21              A.       It's a hypothetical.                 It doesn't
22      apply to my situation because I didn't give
23      authorization and you're saying if somebody
24      gave authorization.              I don't know if that would
25      apply, if that situation would apply to this

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1       case now.
2                        My case -- I brought my case because
3       I didn't authorize.            I didn't know Google was
4       doing this until I found out and I know I
5       didn't authorize it.             I never would have agreed
6       to it initially.          So I don't think I can give
7       an answer other than the information that I am
8       giving you now, what I just said right now in
9       the last few seconds.
10              Q.       So I understand that you believe I'm
11      asking a hypothetical, but I just ask that you
12      would answer the hypothetical, but I'll reask
13      the question.
14                       MR. KOLESNIKOV:            Is there a
15              question?
16                       MR. ANDERSON:          No, I'm thinking.
17              A.       Okay.
18              Q.       If someone did authorize their
19      information being disclosed by Google, then
20      would you agree that they don't fall within
21      this class action; they are not part of this
22      class action?
23                       MR. KOLESNIKOV:            Same objection.
24              Improper hypothetical.                Calls for legal
25              conclusion.       Calls for expert testimony.

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1               You can answer if you understand.
2               A.       As a layman, if I were a layman, if
3       I were a layman, not a retired attorney, not
4       having the experience that I had even before I
5       was an attorney, just by being aware, I would
6       say if they gave permission and authorization
7       to Google, then they shouldn't be in here under
8       those circumstances.
9               Q.       Are you aware of any way that
10      someone could authorize -- excuse me, strike
11      that.        Are you aware that -- strike that.
12                       Are you aware that anyone could give
13      permission and authorization to Google to
14      disclose their information?
15                       MR. KOLESNIKOV:            Objection.         Assumes
16              facts not in evidence.                Calls for expert
17              testimony.
18              A.       Well, you know, Google could --
19      theoretically Google could say well, there was
20      implicit, somebody gave us implicit
21      authorization.         But the word authorization in
22      my mind means, you know, clear, written
23      approval.
24              Q.       What is your basis of that
25      understanding of the word authorization as you

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1       understand paragraph 30?
2                        MR. KOLESNIKOV:              Objection.         Calls
3               for a legal conclusion.                     Improper legal
4               contention question.                You can answer.
5               A.       I am just reading to formulate my
6       answer.       I think that's a normal standard use
7       of the word authorization.                    So it would be the
8       standard interpretation, standard definition
9       about the word authorization.
10              Q.       What is the basis of your belief
11      that that is the standard definition of the
12      word authorization?
13                       MR. KOLESNIKOV:              Same objection.
14              Improper legal contention question.
15              A.       You know I'm trying hard to
16      understand, balance my responsibilities of not
17      disclosing, not getting involved in what I
18      shouldn't be involved in talking about and
19      trying to be respectful and reply to your
20      request, your question and comply with all the
21      rules that make it mandatory for me to answer
22      your question.          I'm trying, but I'm not sure I
23      understand the question.
24              Q.       What if I reask it this way.
25      Outside of conversation, outside of

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1       communications with your lawyers, do you have
2       an understanding of what the word authorization
3       means?
4               A.       My understanding of the word
5       authorization is that there is someone has
6       clearly granted permission, authorized the
7       discussion or conveyance of certain objects or
8       conversation and I always think of
9       authorization has got to be in writing because
10      if it's not in writing, it's just not -- how
11      can it be clear?          How can it be enforceable?
12              Q.       When you say in writing, is it the
13      person -- strike that.
14                       When you say in writing, what do you
15      mean by that?
16              A.       Well, authorization.               I would like
17      to see some evidence, what do you mean and
18      who's authorizing it?              I just --
19              Q.       Would you consider that someone
20      authorized a practice if they chose to -- if
21      they knew about it, but chose to not object to
22      it?
23                       MR. KOLESNIKOV:            Objection.         Vague.
24              Calls for a legal conclusion.
25              A.       I would not assume an authorization

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1       just because somebody doesn't object because
2       like, for instance, in this case you may not,
3       you meaning in person, the potential person who
4       wants to use Google may object to Google's
5       practices, et cetera, but in principle, but
6       they may not take the time to write out an
7       objection or try and contact the president of
8       Google or go through all of the effort
9       necessary to object and so -- yes, it's
10      possible to -- it is a very complicated -- very
11      complicated with much to say and I'm not sure
12      if I answered the question.
13              Q.       If a person receives a writing --
14      strike that.
15                       If Google discloses the alleged
16      practices in writing and a person continues to
17      use Google services, would you consider that to
18      be an authorization?
19                       MR. KOLESNIKOV:            Objection.         Assumes
20              facts not in evidence.                Improper
21              hypothetical.        Calls for a legal
22              conclusion.
23              A.       No, I don't think that would be
24      authorization.
25              Q.       If Google discloses the practices in

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1               for itself.
2               A.       I have to read this again.
3               Q.       Take your time.
4               A.       (Witness reading document).
5                        I don't know.          I am not certain --
6       am not certain what my lawyers meant in
7       paragraph 57 and I'm not certain on how to
8       answer your question.
9               Q.       Paragraph 57 also says you use the
10      Edge web browser; is that accurate?
11                       MR. KOLESNIKOV:            Objection.
12              A.       I'm sorry?
13                       MR. KOLESNIKOV:            No, go ahead.           My
14              fault.
15              A.       Probably.       I use a browser and I
16      think I use the Edge browser.
17              Q.       What is the -- to your knowledge,
18      what is the Edge web browser?
19                       MR. KOLESNIKOV:            Objection.         Vague.
20              A.       I have a basic desktop computer and
21      it allows me to do internet searches, but I
22      can't be certain as to which service or product
23      within my Hewlett Packard desktop computer is
24      doing the browsing with me -- for me.
25              Q.       To your knowledge, have you used any

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1       other web browsers?
2               A.       The name Edge rings a bell.                   I may
3       have used someone else, but not within the last
4       five, six or seven years.
5               Q.       Have you ever used the Chrome web
6       browser?
7                        MR. KOLESNIKOV:            Objection.         Calls
8               for speculation.
9               A.       I have seen Google Chrome on my
10      screen because I have Gmail and I have seen the
11      logo and references to Google and I think
12      that's something that I don't request.
13              Q.       Paragraph 57 also says that your --
14      that you use -- strike that.
15                       Paragraph 57 also says that you
16      visited "websites from which Google sold and
17      shared account holder information without
18      authorization."         Do you see that?
19                       It should be the second and third
20      lines of paragraph 57, so lines 8 and 9 on the
21      page.
22                       MR. KOLESNIKOV:            Was there a
23              question?
24                       MR. ANDERSON:          I just want to make
25              sure he's at the same spot with me.

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1               A.       I'm reading that again.                     (Witness
2       reading document.)
3                        Okay, I read it again.
4               Q.       Do you recall which websites you
5       visited where -- strike that.
6                        Do you recall which websites you
7       visited from which Google shared and sold your
8       information?
9                        MR. KOLESNIKOV:               Objection.         Calls
10              for expert testimony.
11              A.       No.
12              Q.       Just one more paragraph before we
13      break.       In paragraph 58, do you see that, the
14      next paragraph down?
15              A.       Yes.
16              Q.       Are these factual allegations --
17      strike that.
18                       Do you believe these factual
19      allegations to be accurate?
20                       MR. KOLESNIKOV:               Objection.         Calls
21              for a legal conclusion.
22              A.       I have to read that.
23              Q.       Please take your time.
24              A.       (Witness reading document).
25                       MR. KOLESNIKOV:               Just for the

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1               record, objection.             Calls for legal
2               conclusion.       Calls for expert testimony
3               and the document speaks for itself.
4               A.       Okay, I'm done reading it.
5               Q.       Are the factual -- do you believe
6       the factual allegations in that paragraph are
7       accurate?
8                        MR. KOLESNIKOV:            Same objections.
9               A.       I tend to think they are accurate.
10              Q.       Given our conversation earlier, is
11      your basis -- do you think they are accurate
12      because of your conversations with your
13      lawyers?
14              A.       I tend to think they are accurate
15      based upon my initial feeling and thoughts upon
16      reading them and now that I'm sitting back and
17      thinking about it, this is a product from my
18      lawyers.       I trust them and I know how hard they
19      work and I'm sure that it's true and accurate.
20      This is a product of theirs.
21              Q.       So to be clear, do you have any
22      reason to think that the allegations in this
23      paragraph are accurate that are not related --
24      that did not come from your lawyers?
25                       MR. KOLESNIKOV:            Objection.         Asked

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1                        MR. KOLESNIKOV:            Same objection.
2               A.       I think what I said a minute ago
3       applies and that was when I first read that I
4       had an opinion on it and I felt comfortable
5       that it's accurate and truthful and then, of
6       course, I know that it was prepared by the
7       people that I have known for years and I
8       trusted for years.
9               Q.       When you first read that, looking at
10      the first sentence of paragraph 58, when you
11      first read that Google has sold and shared your
12      personal information through Google RTB, I
13      think you said you had an opinion that it was
14      accurate?
15              A.       I think paragraph 58 is accurate.
16              Q.       What personal information do you
17      believe was sold and shared through Google RTB?
18                       MR. KOLESNIKOV:            Objection.         Calls
19              for a legal conclusion.
20              A.       My search, all of my search habits,
21      actions, et cetera, because if I search for a
22      new tire, it seems like within hours there were
23      ads for tires, from tire companies, for various
24      tires.       How could they have possibly learned
25      that without Google disclosing my -- what my

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1       search was previously?                That happened many,
2       many times.
3               Q.       Is there any other information that
4       you consider to be personal information other
5       than your search habits or search history?
6                        MR. KOLESNIKOV:              Objection.         Calls
7               for a legal conclusion.
8               A.       Yes.
9               Q.       And what are other information --
10      what is other information that you consider to
11      be personal information?
12                       MR. KOLESNIKOV:              Same objection.
13              A.       Because they operate my desktop
14      computer, they know everything, my age, my
15      financial capacity, et cetera, much, much
16      personal information and my God, it's just
17      scary when I think about that information just
18      being in somebody else's hands and being
19      disseminated worldwide.
20              Q.       So, I believe you said search
21      habits, age, financial information.                         Can you
22      think of anything else that you would consider
23      to be personal information?
24                       MR. KOLESNIKOV:              Same objection.
25              Calls for a legal conclusion.

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1               Q.       Yep.
2               A.       So you want me to read this side?
3               Q.       The second column, if anything jumps
4       out to you as personal information?
5               A.       The second column on the right or
6       second column down here?
7               Q.       The one to the right of the numbers.
8       If you're looking at it says "IP address,
9       Special Treatment, Google ID" and it continues
10      downward.
11                       Is there anything in this chart that
12      you consider to be personal information?
13              A.       Well, which -- there is a lot of
14      text here, which -- what am I to read?
15              Q.       Let's try it this way.
16                       MR. KOLESNIKOV:              Tell him which
17              column you are referring to.
18              Q.       Let's try it this way.                  Do you see
19      the top it says IP address?
20              A.       The top left IP.               It says IP
21      address.
22              Q.       Do you consider that to be personal
23      information?
24                       MR. KOLESNIKOV:              Objection.         Calls
25              for legal conclusion.                 Calls for expert

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1               testimony.
2               A.       Well, yes, that identifier -- I
3       don't really want everybody to know my IP
4       address.
5               Q.       What about your ZIP Code?
6                        MR. KOLESNIKOV:              Same objection.
7               Q.       Do you -- my apologies.                      Strike
8       that.
9                        Would you consider your ZIP Code to
10      be personal information?
11                       MR. KOLESNIKOV:              Same objection.
12              A.       Yes.
13              Q.       Why do you think your ZIP Code is
14      personal information?
15              A.       Well, because that bit with a few
16      other bits, all of a sudden I have risks, I
17      have costs, I have lack of privacy, et cetera.
18              Q.       Did you say you have bits, B-I-T-S?
19              A.       It's a bit of information.                      You put
20      a bunch of bits of information together, all of
21      a sudden somebody has a clear picture of your
22      private information, of your address, where you
23      are, what you are buying, what you are reading,
24      et cetera.
25              Q.       What pieces, or excuse me -- strike

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1       that.
2                        What bits of information in your ZIP
3       Code would allow someone to have a clear
4       picture of your address?
5                        MR. KOLESNIKOV:            Objection.         Vague.
6               Calls for expert testimony.                   Asked and
7               answered.
8               A.       It's just another bit of information
9       that goes -- which can then be combined with
10      other bits of information which will be
11      conveying what I consider confidential,
12      personal and private.
13              Q.       So is it your testimony that ZIP
14      Code by itself is not personal or private
15      information?
16              A.       Well, in certain situations that
17      could be private, personal.
18              Q.       What are those certain situations?
19                       MR. KOLESNIKOV:            Objection.
20              Improper hypothetical.                You can answer.
21              A.       If somebody is looking to identify
22      the information that is attached to that or
23      related to that ZIP Code, they just got their
24      confirmation.         I just think it's wise that as
25      little personal information, private

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1       information should be seen by the people -- by
2       other people, other than the people around me
3       that I want to see it.
4               Q.       To your own personal knowledge, how
5       could someone confirm your information that is
6       attached to your ZIP Code?
7                        MR. KOLESNIKOV:            Objection.         Vague.
8               A.       I feel that all the bits of
9       information in any situation can have value
10      singularly, each one, because they can complete
11      a clear picture, a global picture with all the
12      other bits of information.                  So I value all the
13      bits.
14              Q.       So I understand, I think I
15      understand what you are saying, but just
16      focusing on ZIP Code by itself, how could
17      someone identify you based off your ZIP Code
18      just by itself?
19                       MR. KOLESNIKOV:            Objection.
20              Improper hypothetical.                Calls for expert
21              testimony.
22              A.       Well, in some ways I looking at it
23      they can't identify me, but in other ways,
24      one -- when they see ZIP Code and they see --
25      they have other information that would match

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1       that ZIP Code and would complete the picture
2       for them.
3               Q.       So --
4               A.       So I can see your point that by
5       itself a ZIP Code is not important, not
6       identified.           It can't identify or disclose
7       anything valuable.
8                        In some situations that is probably
9       true, but there may be other situations where
10      it could be the last piece of a puzzle that
11      needs a complete total picture.
12              Q.       So is it your testimony that
13      something is only -- strike that.
14                       Is it your testimony that something
15      can be personal information only if it's a
16      piece of a puzzle that is needed to complete a
17      total picture?
18                       MR. KOLESNIKOV:               Objection.
19              Misstates prior testimony.                    Calls for
20              expert testimony.              Calls for a legal
21              conclusion.
22              A.       Maybe in certain situations.
23              Q.       Can you have any -- strike that.
24                       Is there something -- strike that.
25                       Can something be personal

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1                        MR. KOLESNIKOV:            Same objection.
2               A.       No, I can't specifically -- I can't
3       recall the specifics and details at this point
4       a couple of years later, you know, three years
5       later.
6               Q.       For the ads that you -- scratch
7       that.
8                        I believe you just said you may have
9       seen some sensitive ads within the last few
10      days; is that correct?
11                       MR. KOLESNIKOV:            Objection.         Vague.
12              A.       I think there were some ads five or
13      six days ago that I was surprised and took note
14      of them.       It bothered me.
15              Q.       What surprised you about those ads?
16              A.       Well, it was -- the one that I had
17      just done some searching on for, regarding a
18      sports training product device, a product
19      relative to the sports training device, all of
20      a sudden, a few hours later or the next day,
21      when I go and check my e-mail, the ads popped
22      up.
23              Q.       Which e-mail did the ads pop up?
24              A.       As I was going through my e-mail or
25      something I saw ads on the right-hand side.

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1               Q.       In which e-mail address are you
2       referring to?
3               A.       When I went to my Gmail account to
4       check my morning mail, I noticed that holy cow,
5       these tires, I'm being barraged now and I did a
6       search the day before for tires for a sports
7       device.
8               Q.       So I just want to make sure I
9       follow.
10                       When you say tires, are the tires
11      related to the sports training device or are
12      these two separate --
13              A.       Replacement tires to allow somebody
14      to build something.            You buy many parts and you
15      put it all together to build something.                          So I
16      was looking for tires, components, one of the
17      components to build something.
18              Q.       You were looking for tires for the
19      sports training device or was the search
20      related to the sports training device separate?
21              A.       I was just checking my -- previously
22      I was looking for tires and the next day I was
23      checking my e-mail in the morning and I noticed
24      ads offering other manufacturers' sports
25      training tires and I had never in a couple of

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1       years been looking for tires for any devices.
2               Q.       To be clear and I just want to make
3       sure, we are on the same page here, you are not
4       talking about car tires; are you talking about
5       tires for the sports training device?
6               A.       They call them replacement tires for
7       like lawn mowers, golf carts, wheelbarrows,
8       utility carts, replacement tires for all those
9       types of human powered products.
10              Q.       I follow you now.              So when you say
11      you also saw ads for your sports training
12      device, that was another example of an ad you
13      saw based off your search history, is that what
14      your -- I'm just trying to understand the
15      search history related to the ads?
16                       MR. KOLESNIKOV:            Objection.
17              Misstates prior testimony.                  Asked and
18              answered.      Go ahead.
19              A.       I previously was searching for tires
20      to buy, replacement tires to buy for a sports
21      training device, I was trying to build and then
22      the next day, which was a few days ago, I, in
23      searching for, not searching for, reading,
24      being on the page that had my Gmail there were
25      ads to the right.

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1       those icons and then another minute, two
2       minutes later my screen will be ready for me to
3       go right to my Gmail or have the Gmail right
4       there.
5               Q.       If it makes you feel any better, the
6       newer computers are still pretty slow.
7               A.       It doesn't matter to me.                     I'm not in
8       business.
9               Q.       Were you checking your Gmail account
10      every morning prior to filing this lawsuit?
11              A.       Most likely.
12              Q.       Have you continued to check your
13      Gmail account every morning since the filing of
14      the lawsuit?
15              A.       Yeah, I try to.
16              Q.       I think you mentioned earlier that
17      you use the web browser that comes on your
18      desktop computer?
19              A.       Yes.
20              Q.       Is that the web browser that you use
21      to check your Gmail account?
22              A.       Yes.
23              Q.       Do you know if that browser is the
24      Edge web browser?
25              A.       I think it is.             I have seen Edge

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1       a Google search so you don't have to receive
2       these other costs as you mentioned?
3                        MR. KOLESNIKOV:            Again, objection.
4               Calls for speculation.                Assumes facts not
5               in evidence.
6               A.       Well, to answer your question, I
7       wouldn't pay because I don't think they could
8       protect the privacy.             I don't think it's
9       possible for any one organization on the planet
10      to protect the privacy.                So I don't want to
11      pay.        If somebody says they want to protect it
12      and they want to charge me, I'm not going to
13      pay it.
14                       I will talk with a lot of experts,
15      attorneys, and maybe I'll make a decision that
16      maybe I could go for it, I can do it.
17              Q.       What is the basis of your
18      understanding that an organization cannot
19      protect privacy?
20              A.       Well, I didn't realize what was
21      going on with Google until I realized it and
22      they are not protecting my privacy.                         I hate to
23      say it.        Don't take it personal young man, but
24      they are not protecting my privacy, my privacy
25      rights and there are costs that I'm bearing and

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1       other costs that I'm probably not bearing, not
2       paying for not in terms of money but in terms
3       of risks.        That's why I say that.
4                        MR. KOLESNIKOV:              Is this a good time
5               to break or do you have more questions?
6                        MR. ANDERSON:            I just have one more
7               set of questions on this topic.
8                        MR. KOLESNIKOV:              You good to go a
9               couple of minutes?
10                       THE WITNESS:            I'm fine.
11              Q.       So I think earlier when you were
12      talking about protecting privacy, you were
13      saying that you consider your search history to
14      be something that was private information?
15              A.       Yes.
16              Q.       And do you believe -- do you believe
17      it to be personal information?
18                       MR. KOLESNIKOV:              Objection.         Calls
19              for a legal conclusion.
20              A.       Yes.
21              Q.       Do you believe your Google search
22      history to be the type of information where
23      that Google isn't protecting?
24                       MR. KOLESNIKOV:              Same objection and
25              calls for expert testimony.

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1               A.       It's not being protected.
2               Q.       When you say it's not being
3       protected, are you referring to your Google
4       search history?
5               A.       Yes, that's what we are talking
6       about, right?
7               Q.       Yes.
8               A.       Nothing in addition, right.
9               Q.       We are talking about your Google
10      search history.           You believe that it's
11      impossible for a company like Google to protect
12      your search history; is that right?
13              A.       Maybe not a hundred percent
14      impossible, but very difficult.                       I shouldn't
15      use the word impossible, but it's very
16      difficult.
17              Q.       That's because you believe that
18      Google has sold your search history to show you
19      advertisements; is that correct?
20                       MR. KOLESNIKOV:              Objection.         Vague
21              and misstates prior testimony.
22              A.       For maybe other reasons too.
23      Definitely for other reasons I would imagine.
24      Definitely for other reasons, not just the
25      sale, their selling of the information.

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1               Q.       You believe that Google is selling
2       your search history through RTB; is that
3       correct?
4                        MR. KOLESNIKOV:            Objection.         Calls
5               for expert testimony.
6               A.       That's what appears to be happening
7       to me.
8               Q.       What appears to be happening to you
9       is the basis of your lawsuit; is that correct?
10              A.       The basis for the lawsuit is set out
11      in the lawsuit and I believe that's part of it.
12              Q.       So you would agree with me that you
13      believe that Google cannot protect your search
14      history through the RTB program; is that
15      correct?
16                       MR. KOLESNIKOV:            Objection.
17              Misstates testimony.              Calls for expert
18              testimony.
19              A.       I can't quite agree to the precise
20      wording of your statement.                  Maybe if you worded
21      it a little bit differently, a different way, I
22      can agree with some of the spirit of it.
23              Q.       But you would agree that you have
24      alleged that Google is selling your personal
25      information through RTB; is that right?

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1               A.       Well, I know I alleged what I
2       alleged in the lawsuit and I stand behind that.
3       I allege that because I had attorneys that
4       helped me make sure that everything is true and
5       correct.
6                        MR. KOLESNIKOV:              Is it a good point
7               to break?        We've gone another five minutes
8               already.
9                        MR. ANDERSON:            One more minute.
10              Q.       Are you okay?
11              A.       Yes.
12              Q.       If you were to learn that Google
13      does not share your search history through RTB,
14      how does that change your allegations?
15                       MR. KOLESNIKOV:              Objection.         Assumes
16              facts not in evidence.                  Calls for expert
17              testimony.        Calls for a legal conclusion.
18              Calls for speculation.
19              Q.       You can answer.
20              A.       Well, in that world where you are
21      saying that we are assuming Google is not doing
22      what my attorneys and I seem to think they are
23      doing, if they are not doing it, well that
24      would be a great world to live in.
25              Q.       This is a good breaking point for

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1       me.
2                        THE VIDEOGRAPHER:                The time is 2:18.
3               We are off the record.
4                        (Brief recess taken.)
5                        THE VIDEOGRAPHER:                The time is 2:36.
6               We are on the record.
7       BY MR. ANDERSON:
8               Q.       So I think we can hopefully speed
9       through these next set of questions.                            When you
10      use the internet, do you use the internet to
11      read the news?
12              A.       Usually.
13              Q.       And to check your e-mail?
14              A.       Yes.
15              Q.       Do you use the internet for any
16      other purpose?
17                       MR. KOLESNIKOV:              Objection.          Vague.
18              A.       Certain searches.
19              Q.       And so when you say searches, do you
20      mean Google searches?
21              A.       You know I have Google.                      I think
22      Google is the search means on my desktop
23      computer, yes.
24              Q.       When you are using the internet --
25      scratch that.

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1                        When you are browsing the internet,
2       do you ever click on the advertisements that
3       you see?
4               A.       Actually I am not sure if I browse.
5       So you are saying when I browse, but not to be
6       argumentative --
7               Q.       I'm happy to phrase.
8               A.       I number one check my e-mails
9       dutifully.        I check the world news real quick.
10      I check sports and then I may on some days have
11      to find a service provider or find out about a
12      product whereby who to buy a product from or if
13      on a rare occasion I hear a new term or new
14      concept, new idea or an event, I'll find out
15      about it.        I'll go to the top bar and put in
16      the descriptive words I can get the
17      information.          That's the extent of my -- I'm
18      not a geek.        That fits my needs.
19              Q.       When you are using the internet to
20      look up world news, have you seen -- do you
21      recall seeing advertisements?
22              A.       That's one of the times I feel that
23      I get the most advertisements from, doing that.
24              Q.       Do you ever click on these
25      advertisements?

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1       not need to know more about cookies.                        That I
2       just needed to know that cookies were a
3       technical term, with a catchy name and they are
4       part of the computer, part of the computing
5       process, et cetera and I felt it was not
6       necessary.
7                        I wanted to make sure I knew,
8       understood what I had to know and I just felt
9       that that would be going into the weeds a
10      little bit.        It's not necessary.
11              Q.       Why do you feel that you could make
12      claims about Google's use of cookies if you
13      only understood that it was a technical term?
14                       MR. KOLESNIKOV:            Same objection.
15              Misstates testimony.              Calls for a legal
16              conclusion.
17              A.       Well, I would use my attorney's
18      response now that would be my response and I
19      think I more or less said in the previous
20      response that I was -- I think I -- I felt
21      comfortable enough with what Google was doing
22      and the damages it was doing to me and what
23      activity should be enjoined which I felt was
24      hurting similarly situated plaintiffs and I
25      felt that my taking this action and also the

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1       fact that I had attorneys who were very
2       competent and they had experts who were very
3       competent and they all knew what cookies were
4       and I didn't think it was necessary for me to
5       find out the precise definition of cookies.
6                        I just knew it was something vital,
7       something that was a concept for an apparatus
8       within the computer, in the computing world,
9       just one of the many bits of information that I
10      didn't need a precise definition of.
11              Q.       Do you feel like you are similarly
12      situated to plaintiffs who do have an
13      understanding of what cookies are?
14                       MR. KOLESNIKOV:            Objection.         Vague.
15              Calls for a legal conclusion.
16              A.       Yes, because we are both being
17      harmed.       We both have damages.
18              Q.       Do you believe you are similarly
19      situated to plaintiffs who have -- scratch
20      that.
21                       Do you believe you are similarly
22      situated to plaintiffs who have prevented the
23      use of cookies?
24                       MR. KOLESNIKOV:            Same objection.
25              Assumes facts not in evidence.

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1               A.       Do I believe I am --
2               Q.       I can break that down for you.
3               A.       Yeah, I can answer that question if
4       I fully understand it and I'm close to it, but
5       if you can repeat it, it will help me.
6               Q.       I'll break it up for you.                      You said
7       like you felt like Google was hurting you and
8       similarly situated plaintiffs; is that correct?
9               A.       Yes.
10              Q.       And my question is, are you
11      similarly situated to plaintiffs who do not
12      allow Google to use their cookies?
13                       MR. KOLESNIKOV:              Same objection.
14              Calls for a legal conclusion.                         Assumes
15              facts not in evidence.
16              A.       If they are being hurt, you said
17      plaintiffs, so they are alleging they are being
18      hurt by Google's activity, if they are being
19      hurt, I know I am being hurt, I know I have
20      cause that I have damages and I want injunctive
21      relief.
22                       So we are not -- we don't have a
23      mutually exclusive situation, those other
24      plaintiffs.        We have -- there is enough
25      commonality, common interests where I can

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1       can -- if you rephrase it, I may be able to
2       construct an answer.             At some point I'm able to
3       keep it simple in my brain and give you a
4       simple answer.
5               Q.       We can move on.            Do you have an
6       understanding of what is an IP address?
7               A.       I know I have one, but I -- like
8       most addresses, I understand that the object
9       has to have an address.                So I have that basic
10      understanding, an IP address.                       I call it my
11      computer's address.            In my mind I call it my
12      computer's address.
13              Q.       What is the basis of this basic
14      understanding?
15                       MR. KOLESNIKOV:            Objection.         Vague.
16              A.       Well, I know all computers have an
17      IP address and I know that's an important
18      identifier.
19              Q.       How do you know that all computers
20      have an IP address?
21              A.       I found that out when I got my
22      computer and my kids helped me hook it up and
23      all that and I heard that term being used in
24      their conversation.
25              Q.       Would you consider an IP address to

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1       be part of your personal information?
2                        MR. KOLESNIKOV:              Objection.         Calls
3               for legal conclusion.
4               A.       You know I think it's something that
5       I should handle, you know, seriously.                           I think
6       it's valuable information.                    I wouldn't want it
7       out there.
8               Q.       By valuable information do you mean
9       personal information?
10              A.       Yes.
11              Q.       Do you understand that IP addresses
12      can be used to approximate local -- strike
13      that.
14                       Do you've understand that IP
15      addresses can be used to approximate your
16      location?
17              A.       I wouldn't doubt it.
18              Q.       Would you consider approximate
19      location to be your personal information?
20                       MR. KOLESNIKOV:              Objection.         Vague.
21              Called for a legal conclusion.
22              A.       Yes.
23              Q.       Why would you consider your
24      approximate location to be part of your
25      personal information?

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1                        MR. KOLESNIKOV:            Objection.         Calls
2               for legal conclusion.               Asked and answered.
3               A.       I think it's a matter of personal --
4       it's a personal matter.                I just consider
5       something that I want to -- don't want people
6       to have as long as they ask me.
7               Q.       Is there any aspect to location that
8       you would not consider to be personal location?
9                        MR. KOLESNIKOV:            Objection.         Vague.
10              Q.       Strike that.          Is there any aspect to
11      location that you would not consider to be
12      personal information?
13              A.       I don't know how to answer that.                      I
14      don't know how to answer it.
15              Q.       Do you understand in the Complaint
16      that you are making claims about Google's use
17      of IP information in RTB?
18                       MR. KOLESNIKOV:            Objection.         The
19              Complaint speaks for itself.
20              A.       I think I understand that.
21              Q.       What specifically about Google's use
22      of IP address in RTB are you complaining about?
23                       MR. KOLESNIKOV:            Same objection.
24              Also calls for expert testimony and
25              conclusion.

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1               A.       I think it's -- I think my attorneys
2       know the answer to that better than I.                         I think
3       based upon on what I'm learning here, I need
4       whatever relief we are asking for and that's
5       part of the relief that is needed.
6               Q.       I understand the relief you are
7       asking for, but today I want to know your
8       personal opinion and not your attorney's
9       opinion about what specifically are you
10      complaining about concerning Google's use of IP
11      address in RTB?
12                       MR. KOLESNIKOV:            Same objection.
13              Asked and answered.             Calls for technical
14              opinion.      You can answer if you understand
15              the question.
16                       THE WITNESS:          I can answer it?
17                       MR. KOLESNIKOV:            Yes, you can answer
18              it.
19              A.       I think it's part and parcel to what
20      we are asking for, a relief that we are asking
21      for, the damages because what is being done is
22      my personal information is being sold and I
23      think part of that personal information is the
24      IP address.        In my mind they go hand in hand
25      and I don't want it sold.

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1               Q.       You have this understanding from
2       your attorneys, correct?
3               A.       From them and from what I have been
4       able to process and learn on my own.
5               Q.       What have you been able to process
6       on your own?
7               A.       It got me to this point, but I can't
8       tell you everything I learned along the way
9       because it's --
10                       MR. KOLESNIKOV:              Objection.         Vague.
11              What are you asking specifically?
12              Q.       Well, I believe you testified that
13      your personal information is being sold, right;
14      is that correct?
15              A.       Yes.
16              Q.       And that an aspect of that personal
17      information that is being sold is your IP
18      address, correct?
19              A.       I'm assuming my IP address is part
20      of that personal information being sold.
21              Q.       But you don't know that to be a
22      fact, do you?
23                       MR. KOLESNIKOV:              Objection.         Calls
24              for expert testimony.
25              A.       No, because I'm not an expert in

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1       have never reviewed a statement where Google is
2       saying we don't sell your personal information?
3                        MR. KOLESNIKOV:            Same objection.
4               Misstates prior testimony.
5               A.       I don't recall seeing that specific
6       claim.
7               Q.       So you have no knowledge of whether
8       Google has ever said -- strike that.
9                        You have no personal knowledge of
10      whether Google has promised to not sell your
11      personal information; is that correct?
12                       MR. KOLESNIKOV:            Objection.         Vague.
13              A.       I was not aware that they were
14      selling my personal information until I became
15      aware of it.          I can't tell you when.                When that
16      awareness came to mind.
17              Q.       Prior to looking at this document
18      right now, were you aware that Google promised
19      to not sell your personal information?
20                       MR. KOLESNIKOV:            Same objection.
21              Vague.
22              A.       Well, at some point I became aware
23      that Google was selling the information and I
24      was surprised.          I was assuming they were not
25      doing that.

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1               Q.       I understand your allegations.                      I'm
2       more so focused on what you believe Google has
3       said that it would and would not do.                        And so my
4       question is, are you aware of any promises that
5       Google has made to not sell your personal
6       information prior to looking at this document
7       that is in front of you at the moment?
8                        MR. KOLESNIKOV:            Objection.            Asked
9               and answered.
10              A.       I'm not aware of the wording and the
11      promise.       I'm not sure how to -- to say that I
12      was -- I hate to say it, but I was assuming
13      that Google is not going to be selling my
14      information.
15              Q.       What was the basis of that
16      assumption?
17              A.       Well, maybe a naive trust.                   I
18      can't -- it's difficult for me to answer that
19      question.
20              Q.       Was your assumption based on any
21      statements that Google made to you?
22                       MR. KOLESNIKOV:            Objection.            Vague.
23              Go ahead.
24              A.       It may have been, but I can't tell
25      you specifically.

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1       philosophically what are the common interests
2       you have with plaintiffs who don't exit out of
3       advertisements?
4                        MR. KOLESNIKOV:            Objection.         Asked
5               and answered.
6               A.       I think that we have a lot in common
7       and not the ads that we are getting.                        It's that
8       our information is being taken and sold and
9       that's what I'm focused on and that's when I
10      think of my common interest with the
11      plaintiffs, fellow plaintiffs, that's what I'm
12      focused on and most concerned about, the fact
13      that our privacy is being violated and our
14      information is being sold by Google and that's
15      what I'm worried about.
16                       And now we are talking about ads and
17      what my fellow plaintiffs are doing with ads,
18      whether they are Xing out ads or not.                         I really
19      don't know how to answer that question, get
20      into that topic.          So with that said, maybe you
21      can rephrase and I'll try and answer the
22      question, okay?
23              Q.       I think you answered.                I do have a
24      follow-up.
25                       Do you think that the ads that you

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1       are getting have anything to do with the
2       information that you allege is being sold by
3       Google?
4                        MR. KOLESNIKOV:            Objection.         Calls
5               for speculation.           Calls for expert
6               testimony.
7               A.       I don't know why I'm getting the
8       ads.        I don't know why -- I don't know all the
9       reasons why or maybe any of the reasons why I
10      get certain ads.          I don't know -- I don't look
11      at or see most of the ads I get, but if I -- I
12      got the ad for the tire.                Well, Google saw that
13      I was looking for tires and they sent me that
14      ad.     Thank you very much.
15                       I don't know why generally I'm
16      getting all the ads and so I don't know if I
17      really can answer your question, but I'm going
18      to try and answer the question if you can
19      restate it with my -- given you heard this
20      information from me.             I want to try to answer
21      that question you asked, so if you can restate
22      it for me.
23              Q.       In your Complaint, are you alleging
24      that Google sells your personal information to
25      advertisers?

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1               Q.       And then it says, "Other data that
2       could be reasonably linked to such information
3       by Google."        Do you see that?
4               A.       I see that.
5               Q.       Do you recall earlier today when I
6       asked you about what information do you
7       consider to be personal information?
8               A.       Yes.
9               Q.       And you said you believed it was
10      search history?
11              A.       Yes.
12              Q.       And I believe you also said your
13      age?
14              A.       Yes.
15              Q.       And you also said certain financial
16      information?
17              A.       Yes.
18              Q.       Would you consider any of this
19      information that Google has here to be personal
20      information?
21                       MR. KOLESNIKOV:              Objection.         Vague.
22              Calls for a legal conclusion.
23              A.       If the information is about me, yes.
24              Q.       Other than search history, age and
25      certain financial information, is there

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1               Q.       Do you believe you are similarly
2       situated -- scratch that.
3                        Earlier you said that you don't like
4       the idea of your IP address being in the public
5       domain.       Do you recall saying that?
6               A.       Yes.
7               Q.       Do you think you are similarly
8       situated to fellow plaintiffs who do like the
9       idea of their IP address being in the public
10      domain?
11                       MR. KOLESNIKOV:              Objection.         Assumes
12              facts not in evidence.                  Calls for a legal
13              conclusion.
14              A.       I don't know what they may or may
15      not believe, my similarly situated plaintiffs
16      on that particular point.                   We have common
17      interests and we may have interests that are
18      not so common.
19              Q.       Just to make sure I understand you
20      correctly, you think that you have -- you still
21      have a common interest with fellow plaintiffs
22      who do like the idea of their IP address being
23      in the public domain?
24              A.       The question of whether they like --
25      the question of whether they don't mind their

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1       IP address being in the public domain does not
2       create a conflict between us in any way.                          We
3       can disagree on that.
4               Q.       So, I guess just what I'm just
5       trying to figure out is your understanding of
6       why that does not create a conflict?
7                        MR. KOLESNIKOV:            I'm sorry, is there
8               a question there?
9               Q.       I'll rephrase.           Why do you think
10      that you can disagree with fellow plaintiffs on
11      whether you are okay with your IP address being
12      in the public domain?
13                       MR. KOLESNIKOV:            Objection.         Vague.
14              A.       I haven't talked with the other
15      plaintiffs on this issue, so I can't opine.                            I
16      cannot opine on this issue, this single issue.
17      I know we have a lot of issues in common,
18      positions, interests in common and so I -- if
19      you narrow the question down, I could probably,
20      you know, give you my opinion, give you a yes
21      or no on it.
22              Q.       Okay.    So let's narrow it and focus
23      it specifically on IP address.
24                       You do understand that you are
25      seeking to represent a class of thousands of

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1       users across the country, right?
2               A.       Yes.
3               Q.       Do you understand that?
4               A.       Yes.
5               Q.       You do understand that some of them
6       may be okay with their IP address being in the
7       public domain; do you understand that?
8               A.       Yes.
9               Q.       How would -- how could you represent
10      them -- strike that.
11                       Earlier you used the word equally
12      represent.        How could you equally represent
13      them if you all have differing views on whether
14      it is okay for your IP address to be in the
15      public domain?
16                       MR. KOLESNIKOV:              Objection.         Assumes
17              facts not in evidence.                  Calls for a legal
18              conclusion.
19              A.       Most of us I feel -- most of us have
20      the overwhelming common interests as to what
21      the Complaint states and that this one minor --
22      excuse me, I'm calling it a minor insignificant
23      fact for me among the many, many concerns that
24      can go into the topic of having your personal
25      information visible worldwide, but so it could

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1       be a significant, and it is for me, item that
2       of my IP address.            So, but I don't think it's
3       something that would prevent me from wanting to
4       equally share redress, damages and other relief
5       that a court would deem appropriate.
6               Q.       But I guess what I'm trying to
7       understand is how is someone who has no
8       objection to the use of the IP address, how are
9       they damaged in the same way you are?
10                       MR. KOLESNIKOV:             Objection.          Asked
11              and answered.         Calls for a legal
12              conclusion.        Calls for expert testimony.
13              A.       In my opinion many or most or some
14      of the plaintiffs find it very important that
15      this -- their personal information not be sold
16      and if it's going to be sold, that they be
17      compensated and I would agree with, but that is
18      not contradictory to or affected by my belief
19      that I want my IT address -- is it IT or IP?
20              Q.       IP.
21              A.       IP address made public.                     They may
22      deem that is okay if their IP address is made
23      public.       I just don't know how that would be on
24      every single concern, on every single issue on
25      this whole matter.

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1               testimony.
2               A.       I don't think so.
3               Q.       Do you believe you've ever been
4       shown an advertisement based on your identity?
5                        MR. KOLESNIKOV:             Same objection.
6               A.       Probably.
7               Q.       What is the basis of that belief?
8               A.       Well, my age, senior citizen.
9               Q.       What is the basis that you have been
10      shown advertisements based on your age?
11              A.       I seem to have received many
12      products that would be been targeted for senior
13      citizens.
14              Q.       What are the examples of those
15      products?
16              A.       Pain management and that's what
17      comes to mind right now.                 There were others.
18              Q.       Do you recall which websites you
19      were visiting when you saw those pain
20      management ads?
21              A.       No, I --
22              Q.       Do you believe that you have ever
23      been shown an ad based off of your personal
24      beliefs?
25              A.       No.

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1               Q.       Do you believe you've been shown an
2       ad based off of any of your sexual interests?
3                        MR. KOLESNIKOV:             Objection.         Calls
4               for speculation.
5               A.       No.
6               Q.       What is the basis of your belief
7       that you were shown pain management ads because
8       of your age?
9               A.       You know, the older we get, the more
10      we need remedies and I think I may have done
11      some research.          That's the reason why now that
12      I think about it, a few months ago.
13              Q.       Do you think you were shown pain
14      management ads based on information that Google
15      shared through RTB?
16                       MR. KOLESNIKOV:             Objection.         Calls
17              for speculation.
18              A.       My brain is too busy and too
19      stressed right now, but it seems to be
20      recalling that a few months ago I did a little
21      research for a product regarding -- a medical
22      product.       I can't even recall what it was for.
23      I think I wound up just calling my 87 year old
24      sister in California, but I did enough research
25      where I think I got some ads for pain relief.

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1       That's right.         I wanted to read up on how to
2       spell and read up on an herb, turmeric.                          I
3       called my sister.
4               Q.       Do you think you were shown this ad
5       because of information that was shared through
6       RTB?
7                        MR. KOLESNIKOV:            Objection.         Asked
8               and answered.        Calls for speculation.
9               A.       Well now that we are here now, I was
10      suspecting that there is a connection and
11      now -- now that I heard the term RTB, yes.                             So
12      that's right I think.
13              Q.       When you said research earlier, were
14      you referring to -- were you referring to
15      Google search?
16              A.       On my computer I just put turmeric
17      products and I got the ads for turmeric.
18              Q.       Do you recall where on your computer
19      you entered, you entered turmeric products?
20              A.       Upper left-hand corner.
21              Q.       Were you using a web browser at this
22      time?
23              A.       I really don't know what you call it
24      up there.        It's -- if I want to -- if I want to
25      get information on anything, that's where I do

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1                        MR. KOLESNIKOV:              Objection.          Asked
2               and answered.
3               A.       I hate to keep asking you to repeat
4       the question, but I want to be certain I
5       understand it.           Can you repeat it?                   It was a
6       short question.           Can you repeat it, please?
7               Q.       Yes.     Do you see where Google says
8       "We might use data that includes your searches
9       and location?"
10              A.       Yes.
11              Q.       Do you have any objection to that?
12                       MR. KOLESNIKOV:              Objection.          The
13              document speaks for itself.
14              A.       I think I said before I don't want
15      my personal information disseminated.                            Maybe I
16      didn't use that word, but -- I -- I am not
17      happy with the fact that they are selling my
18      data, et cetera, as I said many times before.
19              Q.       According to this document, Google
20      uses that data without identifying you
21      personally to third parties.                      Do you believe
22      that statement to be true?
23                       MR. KOLESNIKOV:              Objection.          Assumes
24              facts not in evidence.                  Calls for
25              speculation.

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1               A.       Well, maybe at times they are not
2       identifying me, but other times they may be and
3       I think then they are because I'm getting
4       targeted ads.         So that's -- I'm concerned about
5       my personal data being disseminated worldwide.
6               Q.       Let's move on to the next document
7       to another exhibit from your Complaint.                          I
8       think it's Toronto Exhibit 14.                      It should be
9       already there in front of you.
10              A.       Yes, I see it.           I'm getting it in
11      place.
12                       (Whereupon document was marked
13              Exhibit 14 for identification as of this
14              date.)
15              A.       Okay, got it in my hand.
16              Q.       Have you ever seen this document
17      before?
18              A.       I may have.
19              Q.       For the record, Toronto Exhibit 14
20      is a copy of a Google website entitled "Data
21      Practices & Transparencies."                    It was Exhibit 24
22      to the Complaint.
23                       We are going to turn your attention
24      to page 2, 2 in the bottom right.                      Do you see
25      that?

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1       that correct?           Is that your testimony?
2               A.       Yeah, you --
3                        MR. KOLESNIKOV:              Objection.         Vague.
4               Which statement are you referring to?
5               Q.       The ad personalization being turned
6       on.     Let's do it this way.
7                        Do you have an objection to Google
8       using your information to serving you ads?
9                        MR. KOLESNIKOV:              Objection.         Asked
10              and answered.
11              A.       Yes.
12              Q.       And you had this objection before
13      the filing of this lawsuit; is that correct?
14              A.       Yes.
15              Q.       But have you ever taken any steps to
16      limit that, Google's use of using your
17      information for serving you advertisements?
18              A.       I don't believe I did, until I
19      joined on this Complaint of course.
20              Q.       Right, and so after filing the
21      Complaint, have you taken any action to prevent
22      Google from using your information to make ads
23      useful to you?
24                       MR. KOLESNIKOV:              Objection.         Asked
25              and answered.

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1               Q.       Have you ever visited your Edge
2       browser settings?
3               A.       I don't think so.
4               Q.       Have you ever visited any privacy
5       settings for your Edge browser?
6               A.       I don't think so.
7               Q.       Have you ever investigated whether
8       there was any privacy settings for your Edge
9       browser?
10              A.       Probably not.
11              Q.       Do you think you have any common
12      interests to plaintiffs who have investigated
13      their settings related to the Edge browser?
14                       MR. KOLESNIKOV:              Same objection as
15              before.
16              A.       Yes, I have common interests with
17      them.
18              Q.       I think earlier you may have
19      testified that you believe you have been
20      injured by Google's alleged conduct?
21              A.       Yes.
22              Q.       And how do you think you've been
23      injured?
24                       MR. KOLESNIKOV:              Objection.         Asked
25              and answered.

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1               A.       Shall I repeat?
2                        MR. KOLESNIKOV:            You can answer
3               again, yes, please.
4               A.       As I said before, selling my data, I
5       don't know where it is going.                       It could be
6       going to foreign countries, countries that are
7       possibly planning war against us.                       Information
8       that is -- may cost me money.
9                        They are not respecting my rights,
10      besides my privacy.            I got other rights that
11      are jeopardized and it's costing me money.
12              Q.       How is --
13              A.       And then they are turning around and
14      selling it, selling my information to boot,
15      besides having me at risk having my personal
16      sensitive information out of there all over the
17      world making me subject to all sorts of e-mails
18      and inquiries, not just sellers valuable
19      services, but putting me at risk.
20                       So it's harming me, hurting me,
21      worrying me.          It made me so upset that I
22      actually got involved in this case and are
23      going all the way with it no matter how many
24      energy -- how much cost it is going to have.
25      They shouldn't be doing this to people.                          It's

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1       not just the unjust enrichment.                       It's the risks
2       that they are presenting to us.
3               Q.       What is your basis for -- strike
4       that.
5                        Why do you think Google's alleged
6       conduct is costing you money?
7               A.       Counselor, I'm 72.                 I know what
8       costs me money and I know what doesn't.                          That's
9       a long, long conversation.                  We don't have time.
10      I don't want to expend the energy.
11              Q.       Mr. Toronto, unfortunately you are a
12      named plaintiff in this lawsuit and we have an
13      entitlement to this information, but if could
14      you briefly summarize why you think Google's
15      alleged conduct is costing you money?
16                       MR. KOLESNIKOV:            Objection.         Asked
17              and answered.        You can answer him again.
18              A.       Sir, excellent suggestion.                   I'm
19      going to briefly summarize.                   I almost have so
20      much time and energy in a day and this causes
21      me great worry and it's draining on me.
22                       The fact of knowing that my data is
23      being sold, knowing that there is also risks
24      and it's putting me in contact with people that
25      I should not be in contact with, all this

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1               This concludes the video recorded
2               deposition of Salvatore Toronto taken by
3               the defendant on Thursday, March 30, 2023.
4               The time is 6:34 p.m. eastern daylight
5               time and we are going off the record.
6                       (Time noted:           6:34 p.m.)
7
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1
2                             C E R T I F I C A T E
3                   I, FRAN INSLEY, hereby certify that the
4       Deposition of SALVATORE TORONTO was held before
5       me on the 30th day of March, 2023; that said
6       witness was duly sworn before the commencement
7       of testimony; that the testimony was taken
8       stenographically by myself and then transcribed
9       by myself; that the party was represented by
10      counsel as appears herein;
11                  That the within transcript is a true
12      record of the Deposition of said witness;
13                  That I am not connected by blood or
14      marriage with any of the parties; that I am not
15      interested directly or indirectly in the
16      outcome of this matter; that I am not in the
17      employ of any of the counsel.
18                  IN WITNESS WHEREOF, I have hereunto set
19      my hand this 14th day of April, 2023.
20
21                                     <%12112,Signature%>
                                                  FRAN INSLEY
22
23
24
25

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             1     PRITZKER LEVINE LLP                                 SIMMONS HANLY CONROY LLC
                   Elizabeth C. Pritzker (SBN 146267)                  Jason ‘Jay’ Barnes (admitted pro hac vice)
             2     1900 Powell Street, Suite 450                       112 Madison Avenue, 7th Floor
                   Emeryville, CA 94608                                New York, NY 10016
             3     Tel.: (415) 692-0772                                Tel.: (212) 784-6400
                   Fax: (415) 366-6110                                 Fax: (212) 213-5949
             4
                   ecp@pritzkerlevine.com                              jaybarnes@simmonsfirm.com
             5
                   BLEICHMAR FONTI & AULD LLP                          COTCHETT, PITRE & McCARTHY, LLP
             6     Lesley Weaver (SBN 191305)                          Nanci E. Nishimura (SBN 152621)
                   555 12th Street, Suite 1600                         840 Malcolm Road, Suite 200
             7     Oakland, CA 94607                                   Burlingame, CA 94010
                   Tel.: (415) 445-4003                                Tel.: (650) 697-6000
             8
                   Fax: (415) 445-4020                                 Fax: (650) 697-0577
             9     lweaver@bfalaw.com                                  nnishimura@cpmlegal.com

           10      DICELLO LEVITT LLC                                  BOTTINI & BOTTINI, INC.
                   David A. Straite (admitted pro hac vice)            Francis A. Bottini, Jr. (SBN 175783)
           11      485 Lexington Ave., Suite 1001                      7817 Ivanhoe Avenue, Suite 102
                   New York, NY 10017                                  La Jolla, CA 92037
           12
                   Tel.: (646) 993-1000                                Tel.: (858) 914-2001
           13      Fax: (212) 213-5949                                 Fax: (858) 914-2002
                   dstraite@dicellolevitt.com                          fbottini@bottinilaw.com
           14
                   Counsel for Plaintiffs and the Proposed Class
           15

           16                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           17                                          SAN JOSE DIVISION
           18

           19     In re Google RTB Consumer Privacy                    Master File No. 21-cv-02155-YGR-VKD
                  Litigation,
           20                                                          SALVATORE TORONTO’S DEPOSITION
                                                                       TRANSCRIPT ERRATA SHEET
           21     This Document Relates To: All Actions

           22

           23

           24             Deponent:                Salvatore Toronto

           25             Deposition Date:         March 30, 2023

           26

           27             Return To:               Veritext Legal Solutions

           28

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             1     Page(s) and Line(s)                            Correction/Change                                       Reason(s)

             2
                   14:19                 Change < have > to < had >                                                 Typographical error
             3
                   15:24                 Change < did > to < done >                                                 Typographical error
             4

             5     21:2                  Change < past > to < trust >                                               Typographical error

             6
                   26:3                  Change < Yes, before. Assuming it was > to < Yes. Before, I was            Typographical error
             7
                                         assuming it was >
             8
                   62:11                 Change < sue > to < seal >                                                 Typographical error
             9
                   107:3                 Change < real news > to < world news >                                     Typographical error
           10

           11      119:4–11              Change < I just know that my youngest daughter and youngest son as         Clarification /

           12                            previously stated told to you, maybe yesterday, they have access on        correction

           13                            their iPhones to get into my computer and they do that relative to their

           14                            financial aid and whatever student activities that they need my

           15                            permission or my information for. So just the three of us would be on

           16                            my computer. > to < I just know that my youngest daughter and

           17                            youngest son have access on their iPhones to the same FAFSA e-mails

           18                            that I receive, and they do that relative to their financial aid and

           19                            whatever student activities that they need my permission or my

           20                            information for. So just the three of us would have access to that. >

           21
                   120:4                 Change < Yes > to < I don’t know. >                                        Clarification /
           22
                                                                                                                    correction
           23
                   120:9                 Change < Sometimes when they are over. > to < Sometimes when               Clarification /
           24
                                         they are over, they help me solve issues with my computer. >               correction
           25

           26      120:23–25             Change < I only know when they are doing something for me or               Clarification /

           27                            relative to me they may be doing that. > to < I only know when they        correction

           28                            are doing something for me or relative to me on my computer. >

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             1     121:4                 Change < Maybe > to < I don’t know >                                    Clarification /

             2                                                                                                   correction

             3
                   122:16                Change < iPhone > to < iPhones >                                        Typographical error
             4
                   123:4–6               Change < Anyone other than my kids, because my kids have used it.       Clarification /
             5
                                         If they have used their iPhone to access it? > to < Are you asking if   correction
             6
                                         my kids have used their iPhones to access it? >
             7

             8     123:14                Change < iPhone > to < iPhones >                                        Typographical error

             9
                   123:15                Change < desktop computer > to < desktop computers >                    Typographical error
           10
                   123:20                Change < as > to < with >                                               Typographical error
           11
                   123:24 – 124:2        Change < They are just going to what I access from my computer          Clarification /
           12
                                         because they have access to the same account at the FAFSA. > to         correction
           13
                                         < They just have the same access to what I have access to from my
           14
                                         computer because they access the same account on the FAFSA site. >
           15

           16      124:6–7               Change < I have e-mails from them and I call them on the phone > to     Clarification /

           17                            < I receive e-mails from them and I call my kids on the phone >         correction

           18
                   124:8–9               Change < I check it and they can see my FAFSA e-mail > to < Check       Typographical error
           19
                                         it. And they can see the FAFSA e-mail >
           20
                   124:18                Change < on the computer > to < on my computer >                        Typographical error /
           21
                                                                                                                 clarification
           22

           23      125:12                Change < computer > to < computers >                                    Typographical error

           24      125:13                Change < iPhone > to < iPhones >                                        Typographical error

           25
                   125:16                Change < get this to > to < get this related to >                       Typographical error
           26
                   125:17                Change < I got an FAFSA > to < I got an FAFSA e-mail >                  Typographical error /
           27
                                                                                                                 clarification
           28

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             1     128:6–7               Change < From time to time Google would know better than me. > to     Typographical error

             2                           < From time to time. Google would know better than me. >

             3
                   130:15                Change < alternate Gmail > to < alternate e-mail >                    Typographical error
             4
                   133:2                 Change < paying for not in terms > to < paying for in terms >         Typographical error
             5

             6     140:5                 Change < the news comes on > to < the computer comes on >             Typographical error

             7
                   140:6                 Change < on their world news > to < on there called “world news” >    Typographical error
             8
                   173:22                Change < don’t to see > to < don’t want to see >                      Typographical error
             9
                   200:19                Change < I want > to < I don’t want >                                 Typographical error
           10

           11      261:22–23             Change < There is going to be an ongoing foundation. > to < This is   Typographical error

           12                            going to be an ongoing objection to foundation. >

           13
                   279:18                Change < sellers valuable > to < sellers of various >                 Typographical error
           14

           15
                                                ACKNOWLEDGEMENT OF DEPONENT
           16
                            I, Salvatore Toronto, acknowledge that I have reviewed the transcript of my deposition
           17
                  testimony taken in this matter and hereby make the corrections identified in this Errata Sheet. I
           18
                  request that the foregoing changes be entered upon the record for the reasons given and that the court
           19
                  reporter attach the present Errata Sheet to the original of the deposition transcript.
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           21
                  DATED: May 15, 2023                                 _________________________________
           22                                                               SALVATORE TORONTO

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                   Salvatore Toronto’s Deposition Transcript Errata Sheet
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             1                                         CERTIFICATE OF SERVICE
             2            I, Yury A. Kolesnikov, certify that on May 15, 2023, I caused a true and correct copy of the
             3    foregoing to be sent via electronic mail to the following:
             4
                  Veritext Legal Solutions
             5    cs-corp@veritext.com

             6    COOLEY LLP
                  Michael G. Rhodes
             7
                  Whitty Somvichian
             8    Anu S. Dhillon
                  Kelsey R. Spector
             9    Reece Trevor
                  Khary Anderson
           10     3 Embarcadero Center, 20th Floor
                  San Francisco, CA 95111-4004
           11
                  Tel: (415) 693-2000
           12     rhodesmg@cooley.com
                  wsomvichian@cooley.com
           13     adhillon@cooley.com
                  kspector@cooley.com
           14     rtrevor@cooley.com
                  kjanderson@cooley.com
           15

           16     Counsel for Defendant Google, LLC

           17                                                            /s/ Yury A. Kolesnikov
                                                                         Yury A. Kolesnikov
           18                                                            BOTTINI & BOTTINI, INC.
           19

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                                                                   -5-                 Case No. 5:21-cv-02155-LHK-VKD
                   Certificate of Service
